       Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 1 of 24




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


Tyhe McClendon and Kianna Lee,               )
                                             )
                       Plaintiffs,           )
                                             )
vs.                                          )   CIVIL ACTION FILE NO:
                                             )
Deere & Company and John/Jane Does           )   ______________________
1-20, inclusive                              )
                                             )
                        Defendants.          )
                                             )

                   DEFENDANT’S NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Deere &

Company (“Deere”) hereby files this Notice of Removal of the above-styled case,

and shows this Court as follows:

      1.     Plaintiffs Tyhe McClendon and Kianna Lee filed a lawsuit against

Deere on or about May 6, 2022 in the State Court of Fulton County, styled Tyhe

McClendon and Kianna Lee v. Deere & Company, and John/Jane Does 1-20,

inclusive, Case No. 22-EV-002711. Plaintiffs effectuated service on Deere on June

23, 2022. Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process,

pleadings, and orders filed in the State Court of Fulton County, Georgia, as of the

date of the filing of this Notice of Removal are attached as Exhibit “A.”

                                         1
        Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 2 of 24




       2.     The Complaint purports to state a product liability claim against

Deere, seeking to recover for injuries to Plaintiff McClendon’s right leg, intestines

and penis, and for Plaintiff Lee’s loss of love, affection, companionship, comfort,

society and relations with Plaintiff McClendon.

       3.     Removal of this case is appropriate based on diversity jurisdiction

pursuant to 28 U.S.C. §1332 and 28 § U.S.C. 1441, as the district court has original

jurisdiction based on the fact that Plaintiffs allege the amount in controversy

exceeds $75,000, exclusive of interests and costs, and is between citizens of

different states.

                     Complete Diversity of Citizenship Exists

       4.     There exists a complete diversity of citizenship between Plaintiffs and

Deere, both at the time of the filing of the Complaint and as of the date hereof.

Currently, Plaintiffs and Deere are the only parties to this action.

       5.     Upon information and belief, Plaintiffs are citizens and residents of

Georgia.

       6.     Deere is a corporation incorporated in Delaware and has its principal

place of business in Moline, Illinois.

       7.     Therefore, complete diversity of citizenship exists between the parties

to this lawsuit for purposes of establishing diversity jurisdiction under 28 U.S.C. §


                                          2
       Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 3 of 24




1332(a).

                    The Amount in Controversy Exceeds $75,000

      8.    The Complaint is silent on the amount in controversy; however, the

Complaint alleges that Plaintiff McClendon suffered catastrophic injuries,

including but not limited, to his right leg, intestines and penis.        Plaintiff

McClendon seeks recovery for his past and future medical expenses, past and

future pain and suffering, and lost earnings.     Complaint, ¶¶ 18-24. Further,

Plaintiff Lee seeks to recover for the lost “love, affection, companionship,

comfort, society, and relations with Plaintiff McClendon.” Id. at 7

      9.    Consequently, the combined amount in controversy in this matter

exceeds $75,000.00 for purposes of establishing diversity jurisdiction under 28

U.S.C. § 1332(a).

                                Removal is Timely

      10.   The removal of this case is timely pursuant to 28 U.S.C. § 1446(b) as

Deere was served with the Complaint on June 23, 2022, and this filing is within 30

days of service of the Complaint on Deere.

      11.   Removal of this matter to the U.S. District Court, Northern District of

Georgia, Atlanta Division, is appropriate pursuant to 28 U.S.C. § 1446(a), as the

removed case was brought in Fulton County, Georgia by the Plaintiffs.


                                        3
       Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 4 of 24




      12.    In filing this Notice of Removal, Deere does not waive, and

specifically reserves, any and all defenses, exceptions, rights, and motions. No

statement or omission in this Notice of Removal shall be deemed an admission of

any allegations leveled or damages sought in the Complaint.

      13.    Contemporaneous with the filing of this Notice of Removal, Deere

will provide written notice of the filing to Plaintiffs and will file a copy of this

Notice of Removal with the Clerk of the State Court of Fulton County, Georgia. A

copy of this Notice of Filing Notice of Removal is attached hereto as Exhibit “B.”

      14.    Deere will tender the appropriate fees and costs for removal and

docketing of this matter in federal court contemporaneously with this Notice of

Removal.

      By this Notice of Removal, Deere does not waive any objections it may have

as to service, venue, jurisdiction, and/or the allegations made in the Complaint, and

otherwise preserves all defenses to this action. Any admissions of fact or law

contained herein are made solely for purposes of this Notice, and Deere expressly

reserves the right to object to usage of said admissions in future pleadings,

motions, and/or argument by Plaintiffs.

      WHEREFORE, this Court has jurisdiction over this action and may issue

any such orders or process as may be necessary to bring all necessary parties


                                          4
       Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 5 of 24




before this Court.

      Respectfully submitted this 21st day of July, 2022.

                                      WEINBERG, WHEELER, HUDGINS,
                                      GUNN & DIAL, LLC


                                       /s/ Carol P. Michel
                                       Carol P. Michel
                                       Georgia Bar No. 504056
                                       Shubhra R. Mashelkar
                                       Georgia Bar No. 475388
                                       Counsel for Defendant Deere &
                                       Company
3344 Peachtree Road, N.E., Suite
2400
Atlanta, GA 30326
Telephone: (404) 876-2700
Facsimile: (404) 875-9433
cmichel@wwhgd.com
smashelkar@wwhgd.com




                                         5
       Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 6 of 24




 CERTIFICATE OF COMPLIANCE WITH LOCAL RULES 5.1 AND 7.1D

      Pursuant to Local Rules 5.1 and 7.1D of the United States District Court of

the Northern District of Georgia, the undersigned certifies that the foregoing

submission to the Court was computer-processed, prepared with a top margin of

not less than one and one-half inches and a left margin of not less than one inch,

double-spaced between lines, and used Times New Roman font of 14-point size.

Dated: July 21, 2022.

                                            /s/ Carol P. Michel
                                            Carol P. Michel
       Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 7 of 24




                         CERTIFICATE OF SERVICE

      This is to certify that I have served a copy of DEERE & COMPANY’S

NOTICE OF REMOVAL on the opposing party in the foregoing matter via U.S.

Mail, postage prepaid, to wit:

                                 Ramin Kermani-Nejad
                                       Hani Ganji
                                  Kermani Firm, LLC
                                 1718 Peachtree St NW
                                       Suite 489
                                   Atlanta, GA 30309
                                  Counsel for Plaintiffs

      This 21st day of July, 2022.

                                         WEINBERG, WHEELER, HUDGINS,
                                         GUNN & DIAL, LLC

                                          /s/ Carol P. Michel
                                          Carol P. Michel
                                          Georgia Bar No. 504056
                                          Shubhra R. Mashelkar
                                          Georgia Bar No. 475388
                                          Counsel for Defendant Deere &
                                          Company
3344 Peachtree Road, N.E., Suite
2400
Atlanta, GA 30326
Telephone: (404) 876-2700
Facsimile: (404) 875-9433
cmichel@wwhgd.com
smashelkar@wwhgd.com
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                EXHIBIT A
               Case 1:22-cv-02883-WMR
                     •                Document 1 Filed 07/21/22 Page 9 of 24
                                                                                      State Court of Fulton County
                                                                                                        **E-FILED"
                                                                                                       22EV002711
                      General Civil and Domestic Relations Case Filing Information Form           5/6/2022 9:04 PM
                                                                                        uhristopher G. Scott, Clerk
                                                                                                      Civil Division
                        ID Superior or WI State Court of Fulton                County




Plaintiff(s)                                                 Defendant(s)
MCCLENDON             TYHE                                   DEERE & COMPANY
Last          First           Middle I.   Suffix   Prefix    Last               First         Middle I.   Suffix   Prefix
 LEE            KIANNA                                         JOHN/JANE DOES 1-20
Last          First           Middle I.   Suffix   Prefix    Last               First         Middle I.   Suffix   Prefix


Last          First           Middle I.   Suffix   Prefix    Last               First         Middle I.   Suffix   Prefix


Last          First           Middle I.   Suffix   Prefix    Last               First        Middle I.    Suffix' Prefix

Plaintiff's Attorney Ramin KerMani-Nejad                       Bar Number 669698                   Self-Represented 0

                                            Check One Case Type in One Box

       General Civil Cases                                          Domestic Relations Cases
       El      Automobile Tort                                      El        Adoption
       0       Civil Appeal                                         O         Dissolution/Divorce/Separate
       El      Contract                                                       Maintenance
       El      Garnishment                                          El        Family Violence Petition
       El      General Tort                                         O         Paternity/Legitimation
               Habeas Corpus                                        •         Support —IV-D
       El      Injunction/Mandamus/Other Writ                       O         Support — Private (non-IV-D)
       El      Landlord/Tenant                                      O         Other Domestic Relations
       O       Medical Malpractice Tort
       •       Product Liability Tort                               Post-Judgment — Check One Case Type
       El      Real Property                                        El         Contempt
       El      Restraining Petition                                      El    Non-payment of child support,
       El      Other General Civil                                             medical support, or alimony
                                                                    El        Modification
                                                                    El        Other/Administrative

       Check if the action is related to another action(s) pending or previously pending in this court involving some
       or all of the same parties, subject matter, or factual issues. If so, provide a case number for each.

                Case Number                                 Case Number

       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for —
                                                                                                                    ,.
       redaction of personal or confidential information in 0.C.G.A. § 9-11-7.1.     ,

El     Is an interpreter needed in this case? If so, provide the language(s) required.
                                                                                           Language(s) Required

0      Do you or your client need any disability accommodations? If so, please describe the accommodation request.



                                                                                                                    Version'1.1.18
                   Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 10 of 24
                                                                                                                    State Court of Fulton County
                                                                                                                                      **E-FILED"
                                                                                                                                     22EV002711
GEORGIA, FULTON COUNTY                                                                       DO NOT WRITE IN THIS SPACE         5/6/2022 9:04 PM
                                                                                                                      Christopher G. Scott, Clerk
                                                                                                                                    Civil Division
STATE COURT OF FULTON COUNTY                                             CIVIL ACTION FILE #:
                  Civil Division



                                                                            TYPE OF SUIT                              AMOUNT OF SUIT
TYHE MCCLENDON,and
                                                                            [   I ACCOUNT                       PRINCIPAL $
KIANNA LEE,                                                                 [   I CONTRACT
 1718 Peachtree Street NW,Suite 489Atlanta,                                 [   ] NOTE                          INTEREST $
                                                                            [   ]TORT
Plaintiffs-Name,-Address;-CitrStateT-Zip-Code
                                              Georgia                       [     PERSONAL-INJURY              ATTY:FEES $
                                              30309                         [   I FOREIGN JUDGMENT
                                                                            [     TROVER                       COURT COST $
                          VS.
                                                                            [   I SPECIAL LIEN
DEERE & COMPANY,and John/Jane                                               [ ]NEW FILING
DOES 1-20,inclusive,106 Colony Park                                         [ RE-FILING: PREVIOUS CASE NO.

800-B CUMMING                      GP,1/4    30040



98feiniVEM,At.cibe_batettAtf Zip Code

 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiffs Attorney, or on Plaintiff if no Attorney, to-wit:
Name: Ramin Kermani-Nejad
Address: 1718 Peachtree Street NW, Suite 489
City, State, Zip Code: Atlanta, GA 30309                                                     Phone No.:(678)202-0494
An answer to this complaint, which is herewith served upon you, must be filed within thirty(30)days after service, not counting the day of service. If you
fail to do so,judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                           Christopher G. Scott, Chief Clerk (electronic signature)




SERVICE INFORMATION:
Served, this           day of                            , 20
                                                                                DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for


This             day of                                 20                                                                 Foreperson


                                                        (STAPLE TO FRONT OF COMPLAINT)
      Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 11 of 24
                                                                                     State Court of Fulton County
                                                                                                       **E-FILED"
                                                                                                      22EV002711
                                                                                                 5/6/2022 9:04 PM
                                                                                       Christopher G. Scott, Clerk
                                                                                                     Civil Division
                     IN THE STATE COURT OF FULTON COUNTY
                               STATE OF GEORGIA


TYHE MCCLENDON,and
KIANNA LEE,

       Plaintiffs,                                     Civil Action File No.
                              )
                              )
                              )
DEERE & COMPANY,and JOHN/JANE )                        Jury Trial Demanded
DOES 1-20, inclusive          )
                              )
     Defendants.              )


                              COMPLAINT FOR DAMAGES


       COMES NOW,Plaintiffs in the above-styled action and shows the Court the following:

                                 Parties, Jurisdiction, and Venue

                                                  1.

       Plaintiffs, THYE MCCLENDON and KIANNA LEE ("Plaintiffs") are residents of State

of Georgia, and subject to the jurisdiction ofthis Court. Plaintiffs are, and at all relevant times

have been, married.

                                                  2.

       Defendant DEERE & COMPANY does systematic business in the Fulton County, and

may be served with a copy of the Summons and Complaint by serving the following registered

agent for service of process: The Corporation Company, 106 Colony Park Drive, Suite 800-B,

Cumming, GA 30040.

                                                  3.
      Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 12 of 24




       Defendants John/Jane Doe(s) 1-20 are those yet unidentified individuals who may be liable

in whole or in part for the damages alleged herein. Once served with process, John/Jane Doe(s)

are subject to the jurisdiction and venue of this Court. Any reference to "Defendants" herein

includes John/Jane Does 1-20.

                                                  4.

       Jurisdiction and venue is proper as to all Defendants in this Court.

                                                  5.

       Subject matter jurisdiction is proper in the Court as to all Defendants.



                                            Background

                                                  6.

       On February 4, 2021, in the State of Georgia, Plaintiff MCCLENDON was operating a

defective tractor (model 544) designed, manufactured, marketed and distributed by Defendants.

The tractor malfunctioned and catastrophically injured Plaintiff MCCLENDON,including but

not limited to a severed right leg, intestines, and penis.

                                                  7.

       As a result of Defendants' misconduct, Plaintiff LEE has lost the love, affection,

companionship, comfort, society, and relations with Plaintiff MCCLENDON.

                                     Count 1 — Strict Liability

                                                  8.

       Plaintiffs reallege and incorporate the above allegations as if fully restated herein.

                                                  9.




                                                  2
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       Defendants are in the business of designing, manufacturing, marketing, and distributing

tractors, including the subject tractor.

                                                 10.

       Under OCGA §51-1-11 and other applicable case law, Defendants are strictly liable to

Plaintiffs for the design and/or manufacturing defects in the subject tractor because the tractor

was not merchantable or reasonably suited for its intended use when it was sold as new, and its

defective condition when sold was the proximate cause ofPlaintiffs' injuries.

                                                 1 1.

       Defendants are strictly liable to Plaintiffs for the design defects in the tractor because

the risks inherent in the tractor's design outweighed any utility or benefit derived from the

tractor. At all relevant times, Defendants knew, as the tractor's designer and manufacturer,

that the tractor had to be designed and manufactured to minimized risks versus utilities; yet

Defendants designed, manufactured, marketed and placed into the stream of commerce a

defective and unreasonably dangerous product, thereby exposing people, like Plaintiff, to

serious risk of harm.

                                                12.

       Defendants' defective tractor was the proximate cause ofPlaintiffs' injuries. Therefore,

Defendants are strictly liable for all injuries and damage to Plaintiffs.



                                      Count 2 — Negligence

                                                13.

       Plaintiffs reallege and incorporate the above allegations as if fully restated herein.

                                                1 4.




                                                 3
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       At all relevant times herein, Defendants had a duty of reasonable care to design,

manufacture, market, and distribute non-defective products, including the subject tractor, that

are reasonably safe for their intended uses.


                                               14.


       Defendants breached that duty when they designed, manufactured, tested, marketed, and

placed into the stream ofcommerce a defective and unreasonably dangerous product, the subject

tractor, which posed a serious safety hazard to users like Plaintiff MCCLENDON.


                                               1 5.


       Defendants knew, or in the exercise of ordinary care, should have known through their

own testing, that the tractor was unreasonably dangerous to those persons likely to use the

product for the purpose and in the matter for which it was intended to be used. Despite this

knowledge, Defendants marketed and sold the defective tractor, exposing the public and

Plaintiffs to an unreasonable risk of harm.


                                               16.


       Defendants owed Plaintiff, as well as the public at large, the duty of reasonable care in

designing and manufacturing the subject tractor. Defendants failed to act as an ordinary, prudent

manufacturer in designing and manufacturing the subject tractor and violated their duties to the

public, including Plaintiffs, and were negligent. Defendants' negligence in designing and/or

manufacturing the defective tractor were the proximate cause of Plaintiffs' injuries and

damages, as described herein.


                                               17.



                                               4
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       Defendants are liable for their negligence and for all injuries and damages to Plaintiffs

related to this incident.




                                        Count 3 — Damages



       Plaintiffs reallege and incorporate the above allegations as if fully restated herein.

                                                  19.

       Plaintiffs' injuries and damages resulting from Defendants' misconduct were strictly,

directly and proximately caused by Defendants.

                                                 20.

       Plaintiffs were injured and have experienced physical and emotional pain and suffering as

a direct and proximate result of Defendants' misconduct.

                                                 21.

       In the future, it is likely Plaintiffs will continue to have physical injuries and experience

physical and emotional pain and suffering as a strict, direct and proximate result of Defendants'

misconduct.

                                                 22.

       In the future, it is likely Plaintiffs will continue to need medical treatment as a strict,

direct and proximate result of Defendants' misconduct.

                                                 23.

       Plaintiffs experienced and will continue to experience pain and suffering as a strict, direct

and proximate result of Defendants' misconduct.

                                                 24.



                                                  5
       Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 16 of 24




         As a result of Defendants' misconduct, Plaintiffs have incurred reasonable, necessary,

and continuing medical expenses and will continue to incur expenses in the future, in an amount

to be proven at trial.

                                                  24.

    Plaintiffs are entitled to recover for their injuries and the pain and suffering sustained, and all

other elements of damages allowed under Georgia law, including but not limited to all

compensatory, general, special, incidental, consequential, and/or other damages permitted.

Plaintiffs state their intentions to seek all compensatory, special, economic, consequential,

general, and all other damages permissible under Georgia Law, including, but not limited to:

    a)      Personal injuries;

    b)      Past, present and future pain and suffering;

   c)       Disability;

   d)       Disfigurement;

   e)       Mental anguish;

   0        Loss of capacity for the enjoyment of life;

            Economic losses;

   h)       Incidental expenses;

   )
   i       Past, present and future medical expenses;

   j)      Lost earnings;

   k)      Loss of consortium;

   1)      Loss of earning capacity;

   m)      Permanent injuries; and

   n)      Consequential damages to be proven at trial.




                                                  6
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        WHEREFORE,Plaintiffs pray that they have a trial on all issues and judgment against

Defendants as follows:

   a)      Process issue as provided by law;

   b)      Plaintiffs have a trial by jury against Defendants;

   c)      Judgment be awarded to Plaintiffs and against Defendants;

   d)      That Plaintiffs recover the full value of past and future medical expenses and past and

           future lost wages in an amount to be proven at trial;

   e)      That Plaintiffs recover for physical and mental pain and suffering in an amount to be

           determined by the enlightened conscience of a jury;

   0       Plaintiffs attorneys' fees and expenses of litigation

   g)      Plaintiffs cost of suit;

   h)      Plaintiffs pre-judgment and post-judgment interest, as allowed as applicable law

   )
   i       That Plaintiffs recover punitive damages in an amount to be determined by the

           enlightened conscience of a jury; and

   j)      That Plaintiffs recover such other and further relief as is just and proper.




Respectfully submitted on Friday, May 6, 2022


                                                      /s/ Ram in Kermani-Nejad
                                                      Ramin kermani-Nejad, Esq.
                                                      KERMANI FIRM LLC
                                                      Georgia Bar No. 669698
                                                      Attorneyfor Plaintiff

KERMAM FIRM LLC
1718 Peachtree Street NW,Suite 489
Atlanta, Georgia 30309
Tel: 678-202-0494



                                                 7
    Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 18 of 24




Fax: 678-202-0209
rkOkermanillp.com




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                                                                                                                                  State Court of Fulton County
                      Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 19 of 24                                                                **E-FILED**
                                                                                                                                                   22EV002711
                                                                                                                                            6/28/2022 3:50 PM
                                                           AFFIDAVIT OF SERVICE
                                                                                                                                   Christopher G. Scott, Clerk
                                                                                                                                                  Civil Division
     Case:            Court:                                          County:                                         Job:
     22EV002711       IN THE STATE COURT OF FULTON COUNTY             FULTON                                          7268831
                      STATE OF GEORGIA
     Plaintiff/ Petitioner:                                           Defendant / Respondent:
     TYHE MCCLENDON, et aI                                            DEERE & COMPANY, et al
     Received by:                                                     For:
     Michael Rivers                                                   Kermani LLP
     To be served upon:
     DEERE & COMPANY

|,Michael Rivers, being duly sworn, depose and say: am over the age of18 years and not a party to this action, and that within the
                                                       I



boundaries of the state where service was effected, was authorized by law to make service of the documents and informed said
                                                   I
                                                                                                                                 person of
the contents herein


Recipient Name lAddress:       DEERE & COMPANY, 106 Colony Park Dr Suite 800-B, Cumming, GA 30040
Manner of Service:             Registered Agent,Jun 23,2022, 11:10 am EDT
Documents:                     Summons and Complaint for Damages

Additional Comments:
1) Successful Attemptslun 23, 2022, 11:10 am EDT at 106 Colony Park Dr Suite 800-B, Cumming, GA 30040 received by DAYVONJACKSON at
The Corporation Company for DEERE & COM PANY.


                                                                        Subscribed and sworn to before me by the affiant who is
                                                                        pe     ally kn   to me.


Michael Rivers                             Date
                                                                        Notary Pubﬁc                              Anti-“Noe,”
                                                                                                                      '




Michael Rivers                                                                                             “an”
                                                                                                                  A                    »
                                                                                                                                              ,


                                                                                                                                              €05,
                                                                                                                 15:."    u...          ‘.‘1\ ”a
3301 Buckeye Rd Suite 303                                               Date                     C0                                                    ‘2:
Atlanta, GA 30341
                                                                                                       _

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                              Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 20 of 24

                                                      IN   THE STATE COURT OF FULTON COUNTY
                {v‘ 932:»
                                                                       STATE OF GEORGIA

           my
            3:!"
           «.21
            .     ‘ 1:1mw
           Ammuninnn
                            ”JIM“           IN   RE: ORDER FOR APPOINTMENT FOR SERVICE
                                                                                                             Administrative Order NO. 22EXOOO®I

                                                                                                           OF-   PROCESS
  lt appearing that the State Court of Fulton County has read and considered
                                                                             petitions and criminal records for the persons listed
  below, and the same having met certiﬁcation requirements, this Court hereby allows the some to serv 2
                                                                                                          process for State Court proceedings.
  IT IS HEREBY ORDERED that the following persons:

   ABRAHAM, ROBIN L.            FARKAS, BELA                                     KING, AMOS                                SAXON, ROBIN LEE
   ALLEN, LAKEITA TYESHA        FAULKNER, DANA V.                                KOTLAR, MICHAEL J.                        SAXON—FORD, VIRGINIA
   ANDERSON, QAJSAR CRAIG       FAZZIO, DEDREA L.                                LASTER, BEVERLY L.                        SEKLECKI, CHRISTIAN G.
   ANDERSON, WILLIAM JAMES      FERGUSON, REGINALD B.                            LAUSMAN, MARSHA C.
   ANDREWS II, GENE EDWARD                                                                                                 SHEPHERD, ELIZABETH A.
                                F ERRERO, AMY LYNN                               LAWS ON, ZURI M.                          SIBBALD, JOI-IN WILLIAMS
   ARMSTRONG, CHRISTOPHER J.    FISHER, DAWN WALLS                               LE, PHUONGwANI-I DAO                      SI'NGLETON, WESLEY G.
   ARMSTRONG, CYNARA            FITZGERALD, FLORETTA                             LET'IS, WILLIAM EARL                      SMITH JR, BRUCE RICHARD
   BACKO, MUSTAFA               POOLE, JOHNNY COLVIN                             LEWIS, KEVIN JOSEPH                       SMITH, DELACIE PAUL
   BAILEY. ANNA MARIE           FOLDS, CATHERINA PILAR                           LOUIS, CLYDE A.                           SMITH, RONALD LEON
   BALL, STACY LEIGH            F OLDS, GEORGE LARRY                             LUTWACK, WILLIAM C.                       SMITH, VIRGINIA E CHARLES
   BARNES, KRISTOPIIER KEVIN    FORD, RONNIE                                     MAGGARD, ANDREW M.
   BARNEY JR, STEVEN MICHAEL FOX, JUI-IANI ALLEN                                                                           SNELLINGS, SHARON E.
                                                                                 MALLAS. NICHOLAS A.                       SPEARS, JOYE L.
   BARRON. SHANE WILLIS         FREESE, JESSICA RENEE                            MAXWELL, BRANDON S.                       SPELLEN, ELIZABETH R.
   BARRY, PAUL EDWIN            FULLER, THOMAS WAYNE                             MCCLELLAN, RODNEY J.                      SPELLEN, GEOFFREY E.
  BASIIAM, JAMES STEVEN        CALVIN, ELIZABETH MARY                            MCGAHEE, LARRY LOUIS                      STANTON, CHRISTOPHER S.
  BENITO, RICHARD DAVID        GARMON, JASON HAMPTON                             MCMILLON, ERICKA D.                       STARKS. MARC ANTONY
  BETI-IEL-MAXIE, VAQUISHA     GAYLE, EARL WINSTON                               MITCHELL, KEVIN JOSEPH                    STEPHENS, GERI SHAMEKA
  B EYENE, EUAEL BERHANE       GEORGE, RANDAL LEE                                MORGAN, TODD VERNELL                      STEWART, RONNIE NORRIS
  BOATENG, SHERRY DOTSON       GIBBS Ill, THOMAS DAVID                           MOTT, CYNTHIA                             STIN'YARD, KELVIN
  BOLLING, KATHERINE DEVORE GILES, HERBERT F.                                    MURPHY JR., GREGORY B.                    STONE, ALESIA ANDREA
  BRAZEMAN, CRAIG PHILIP       GREEN, ANJENAI G.                                 MURRAJ‘I, IUANQUALO D.                    STONE, RODNEY DAVID
5 I3 RIDGET, KAYLA DENISE ~    GREEN, MELBA I AN]                                NEWSOM, JESSICA FALLON
  I3 RILEY, DONNIE CHAPPELLE
                                                                                                                           SWINDLE, FRANK L.
                               GREENWAY, KIMBERLY B.                             NICHOLS, JEAN GRINWIS                     SWINGER, INA LYNN
  BRYANT, SHEMIKA ROCHELLE GRIMSHAW, SHANE KELLEE                                NICHOLS, LATHAN OTTO                      TASSAW, BERHANE BEYENE
  BUNCH. KIM                   I-IABTEMARI AM, NEBYO L]                          NOLEN, MILTON LEE                         THOMAS, JEFFREY ALAN
  BUTTS, KIMBERLY LYNN         HANDLEY, WILEY D.                                 O‘LEARY, CHRISTINE L.                     THOMPSON, VANESSA
  BYER, EDMOND JOHN            HARRIS, PARKS WAYNE                               PALMER, ALITA SHARISSE                    THRASH, NANCY M.
  CABRERA-ANDERSON, SANDY HASSAN, MUHSIN SHAHI D                                 PANN'ELL, NICOLE D.                       TORT, HENRY
  CHASTAIN, MICHAEL ALAN       HASSAN, MUHSIN SHAH ID                            PARKER, ATARI LARAE                       TROY, DOUGLAS ADAM
  CHESLER, ROSETTA L.          HIGHSMITH, AMOS MATTHEW                           PERLSON, MARC DAMON                       TURNER TRAVIS DAVON
  CHILDRESS, CLIFTON          HIGHTOWER, ANTI-ION IO                             PHELAN, CHRISTINE                         VBLASQUEZ, JULIUS O.
  CLEMMONS, JOYCE YVONNE       HILL, HOLLIS JEROME                               PHELAN, ROSS                              WALKER WHISBY, KATARA
  CLINE, TRAVIS DANIEL         HILL, LISA WILSON                                 RANSOME, MAURICE L.                       WASHINGTON, SABRINA A.
 COCHRANE, BABETTE DAWN       HINDSMAN, CHERROD TIER—RAY                         RECKERDREES, THOMAS NMN                   WATT II, ROOSEVELT
 COOK, CHRIS LAMAR             HINES, JAMES WILLIAM                              REDDICK, DEREK LAMAR                      WEBBER, MELINA MARY
 CUNNINGHAM, SALLY K.         HORTON, CHRISTOPHER TODD                           REYES, REAGAN J.                          WEEKS, FRANCES MARIAN
 DALMAN, JONATHAN B.          HORTON, MALACHI                                    RHODES, KATHRYN DENISE                    WEST, ERIC NOEL
 DAMBACI-I-CIRKO, PATRICIA I. HUDSON, HAKIMAH B.                                 RICHARDSON, CLARK                         WILLIAMS, JACK LELAND
 DANIELS, SONIA L.            HUDSON, KYLE W.                                    RICHARDSON, LEROY                         WINKL'EMAN, NAN L.
 DAVIDSON, DANNY DOUGLAS      HUG ULEY, CK ADONNI                                RIVERS, MICHAEL THOMAS‘                   WOLFE, LISA LYNN
 DAVIDSON, MITCHELL T.        HUMPHREY, JOVIERA Y.                               ROBBINS, KAREN FELICI A                   WRIGHT, CHRISTOPHER K.
 DAY, DUANE DAVIDSON          IRVINE, XAVIER ANTOINE                             ROBINSON, IEROY
 D EVAUGI-IN. CARL LINTON
 DOLBIER, JEFFREY ALAN
                              JACKSON II, ANTHONY
                              JAMES, FRANK HUGH
                                                                                 RUDDOCK, LEOPOLD ERIC
                                                                                 RUDDOCK, MARGARET A.
                                                                                                                           ”LEE            {’2

 EARTHRISE, ROCHELLE D.       JENKINS. STEPHANIE D.                              SADLER JR, JOHN THURSTON
 ECI IOLS, ERIC DWIGHT        JOHNSON, EARL CHARLES                              SANDERS, Sl-IAKILLA TERIA
 ECI—IOLS, PATRICIA IZE‘I‘TA  JOHNSON, MICHAEL TODD                              SAXON, JASMINE NICHOLE
 ELLIOTT. MAURICE             KAH-SSU, HAILE TAN KEY                                                                          LE]>un CLLfil-I‘ SIZECEI'IRT
                                                                                 SAXON, RASHAD LAMAR
                                                                                                                                  Him NINE
 be appointed and authorized to serve as Permanent Process Servers for the calendar
                                                                                    year of2022~ , without the necessity   of an order for appointment in
 each individual case.

 SO ORDERED, this Ist clay ofJanIIary. 2022.                                                               f.                              O



                                                                                                 ChicIJudge Susan E. Edlein
                                                                                                 State Court ol'Fulton County
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                EXHIBIT B
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                       IN THE STATE COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

TYHE MCCLENDON and KIANNA LEE,                    )
                                                  )
                       Plaintiffs,                )
                                                  )
vs.                                               )     CIVIL ACTION FILE
                                                  )     NO: 22EV002711
DEERE & COMPANY and JOHN/JANE                     )
DOES 1-20, inclusive,                             )
                                                  )
                       Defendants.                )
                                                  )


                        DEFENDANT DEERE & COMPANY’S
                      NOTICE OF FILING NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant Deere & Company (“Deere”), by and through

the undersigned, filed in the United States District Court for the Northern District of Georgia,

Atlanta Division (the “Federal Court”) a Notice of Removal, a true and correct copy of which is

attached as Exhibit “A”, thereby removing this case to Federal Court.           Accordingly, the

jurisdiction of this Court is hereby suspended and any proceedings in this Court after the date of

removal are null and void unless or until the Federal Court remands this matter to this Court.

See, e.g., Cotton v. Federal Land Bank of Columbia, 246 Ga. 188, 269 (1980).

       Respectfully submitted this 21st day of July, 2022.

                                             WEINBERG, WHEELER, HUDGINS,
                                             GUNN & DIAL, LLC

                                              /s/ Carol P. Michel
                                              Carol P. Michel
                                              Georgia Bar No. 504056
                                              Shubhra R. Mashelkar
                                              Georgia Bar No. 475388
                                              Counsel for Defendant Deere & Company
       Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 23 of 24




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Telephone: (404) 876-2700
Facsimile: (404) 875-9433
cmichel@wwhgd.com
smashelkar@wwhgd.com




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        Case 1:22-cv-02883-WMR Document 1 Filed 07/21/22 Page 24 of 24




                                CERTIFICATE OF SERVICE

       This is to certify that I have this day filed a true and correct copy of DEERE &

COMPANY’S NOTICE OF FILING NOTICE OF REMOVAL with the Court via the

Clerk’s electronic filing system, which will automatically send notification to all counsel of

record, as follows:

                                      Ramin Kermani-Nejad
                                            Hani Ganji
                                       Kermani Firm, LLC
                                      1718 Peachtree St NW
                                            Suite 489
                                        Atlanta, GA 30309
                                       Counsel for Plaintiffs

       This 21st day of July, 2022.

                                             WEINBERG, WHEELER, HUDGINS,
                                             GUNN & DIAL, LLC

                                              /s/ Carol P. Michel
                                              Carol P. Michel
                                              Georgia Bar No. 504056
                                              Shubhra R. Mashelkar
                                              Georgia Bar No. 475388
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